             Case 1:19-cv-10996-JGK Document 1 Filed 11/27/19 Page 1 of 8



 D. Maimon Kirschenbaum
 Denise Schulman
 JOSEPH & KIRSCHENBAUM LLP
 32 Broadway, Suite 601
 New York, NY 10004
 (212) 688-5640
 (212) 688-2548 (fax)

 Attorneys for Plaintiff

 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
 --------------------------------------------------------x
 SHINJI UJIIE,
                                                             COMPLAINT
                       Plaintiff,
                                                             CASE NO.:
            v.

 NEW LIFE SUSHI, INC. d/b/a SUSHI SEKI
 UPPER EAST SIDE, 365 SEKI, INC., d/b/a
 SUSHI SEKI TIMES SQUARE, ZHONG
 SHEN SHI a/k/a SEKI, and BI HANG
 CHENG,


                        Defendants.
 --------------------------------------------------------x
Plaintiff SHINJI UJIIE alleges as follows:

                                     JURISDICTION AND VENUE

        1.       This Court has original federal question jurisdiction under 28 U.S.C. § 1331

because this case is brought under the Fair Labor Standards Act, 29 U.S.C. §§ 201, et seq.

(“FLSA”). This Court has supplemental jurisdiction over the New York state law claims, as they

are so related to the claims in this action within the Court’s original jurisdiction that they form part

of the same case or controversy under Article III of the United States Constitution.

        2.       Venue is proper in this District because Defendants conduct business in this

District, and the acts and/or omissions giving rise to the claims herein alleged took place in this

District.




                                                        1
              Case 1:19-cv-10996-JGK Document 1 Filed 11/27/19 Page 2 of 8




                                             PARTIES

         3.      All Defendants are hereinafter collectively referred to as “Defendants.”

         4.      Defendant NEW LIFE SUSHI, INC. is a New York corporation that owns and

operates the Sushi Seki restaurant located on the Upper East Side of Manhattan (“Sushi Seki

UES”).

         5.      Defendant 365 SEKI, INC. is a New York corporation that owns and operates the

Sushi Seki restaurant located in Times Square in Manhattan (“Sushi Seki Times Square,” together

with Sushi Seki UES, “Sushi Seki”).

         6.      Each Sushi Seki restaurant has an annual gross volume of sales in excess of

$500,000.

         7.      Defendants Zhong Shen Shi and Bi Hang Shen (collectively, the “Individual

Defendants”) are New York residents. They are the owners and operators of Sushi Seki Times

Square and Sushi Seki UES.

         8.      Each of the Individual Defendants has ultimate authority with respect to the hiring

and firing of employees, setting their schedules and rates of pay and maintenance of payroll records

at both Sushi Seki restaurants.

         9.      Plaintiff Shinji Ujiie is a New York resident. Plaintiff worked at Sushi Seki UES

as a sous chef until mid-2016. After that, he became the head sushi chef at Sushi Seki Times

Square, where he remained until 2019.

                                              FACTS

         10.     Defendants committed the following acts knowingly, intentionally, and willfully.




                                                  2
           Case 1:19-cv-10996-JGK Document 1 Filed 11/27/19 Page 3 of 8



        11.     Plaintiff was employed as a non-exempt sous chef at Sushi Seki UES until mid-

2016.

        12.     As a sous chef, Plaintiff was scheduled for and in fact worked over 60 hours per

week.

        13.     Specifically, Plaintiff worked from 2:00 a.m. to 12:00 a.m. four days a week, and

from 2:00 p.m. until 3:30 a.m. 2 days per week.

        14.     Defendants did not pay Plaintiff for any overtime worked during this period.

        15.     Defendants did not pay Plaintiff NY’s “spread of hours” premium for workdays

that lasted more than 10 hours.

        16.     At Sushi Seki UES, Defendants allocated a portion of the waiters’ tip pool to sushi

chefs. In other words, Defendants deducted money from the tip-pool each night, telling wait staff

that it was being distributed to sushi chefs, who provided direct customer service. But Defendants’

held on to these amounts, thus retaining tips belonging to sushi chefs, including Plaintiff.

        17.     Defendants deceitfully created a false paper trail to make it appear that they

distributed tips to Plaintiff. Specifically, they created phone pay records to make it appear as

though they distributed tips to him each week. What Defendants in fact did was to pay Plaintiff a

flat salary each week.

        18.     When Plaintiff moved to Sushi Seki Times Square in 2016, Defendants still

illegally retained his tips.

        19.     Specifically, Defendants required Plaintiff to remit to them any tips that customers

gave him, purportedly to put it in the server tip pool.

        20.     However, Plaintiff received a flat salary the entire duration of his employment and

never received back any portion of his personal tips that he was required to remit to Defendants.




                                                  3
           Case 1:19-cv-10996-JGK Document 1 Filed 11/27/19 Page 4 of 8



        21.     In fact, Defendants again deceitfully created a false paper trail to make it appear

that they distributed tips to Plaintiff.

        22.     On their nightly tip distribution sheets, which included the distribution of all service

employees’ tips at Sushi Seki Times Square, Defendants allocated a portion of the tip pool to the

sushi chefs, including Plaintiff. Thus, wait staff believed that they were sharing tips with sushi

chefs, when in fact sushi chefs were paid flat salaries and Defendants pocketed the tip money that

was supposed to be paid to sushi chefs.

        23.     In order to keep their phony story consistent, Defendants put information on

Plaintiff’s paychecks to reflect a tip distribution. However, as stated above, Defendants always

paid Plaintiff a fixed salary. Each week, Defendants listed on Plaintiff’s paycheck a false hourly

rate and false number of hours worked so that his total pay – wages plus tips – always amounted

to his fixed salary.

        24.     For example, in the beginning of 2018, Plaintiff’s weekly salary was $1,738.00.

        25.     In the week ending January 6, 2018, Defendants falsely “allotted” $116.12 of the

tip pool money to Plaintiff. Defendants worked their way backward to make it look as though

Plaintiff’s $1,738 salary was comprised of hourly wages and tips. Specifically, on Plaintiff’s

paystub Defendants attributed $1,571.88 to regular pay and $116.12 to tips. For some reason,

Defendants claimed on the paystub that Plaintiff worked 25.22 hours that week and that the

$1,571.88. was “regular” pay, an effective hourly rate of $71.45. In any event, despite this

smokescreen, Plaintiff received his regular salary of $1,738.

        26.      The next week Defendants falsely “allotted” $748.00 of the tip pool money to

Plaintiff. Defendants again worked their way backward from the $1,738 salary figure. On the

paystub for the week ending January 13, 2018, Defendants attributed $720 to Plaintiffs first 40




                                                   4
             Case 1:19-cv-10996-JGK Document 1 Filed 11/27/19 Page 5 of 8



regular hours ($18 per hour), $270 for 10 hours of overtime work ($27 per overtime hour)., plus

$748 in tips, again totaling Plaintiff’s flat weekly salary of $1,738.

        27.      The following week, Defendants falsely allotted $278.54 of the tip pool money to

Plaintiff. On the paystub for the week ending January 20, 2018, Defendants attributed $1,459.46

to “regular pay” for 47.23 hours ($30.90 per hour), plus $278.54 in tips, arriving yet again at

Plaintiff’s flat weekly salary of $1,738.

        28.      This phony payroll reporting continued throughout Plaintiff’s employment at Sushi

Seki Times Square. The end result was always the same: Defendants retained Plaintiff’s tips.

Defendants paid Plaintiff a flat weekly salary and no additional money on account of Plaintiff’s

tips received.

        29.      Defendants did not give Plaintiff weekly wage statements that included Plaintiff’s

actual hours worked.

        30.      Defendants did not give Plaintiff an accurate Notice and Acknowledgment of Pay

Rate at the beginning of his employment, as required by NYLL § 195.

                                 FIRST CLAIM FOR RELIEF
                 FLSA Illegal Deductions from Gratuities, 29 U.S.C. § 201, et seq.,

        31.      Plaintiff realleges and incorporates by reference all previous paragraphs.

        32.      At all relevant times, Defendants have been, and continue to be, “employers”

engaged in interstate “commerce” and/or in the production of “goods” for “commerce,” within the

meaning of FLSA, 29 U.S.C. § 203.

        33.      At all relevant times, Defendants have employed “employee[s],” including

Plaintiff.

        34.      Defendants knowingly retained/misappropriated voluntary gratuities belonging to

Plaintiff.



                                                  5
          Case 1:19-cv-10996-JGK Document 1 Filed 11/27/19 Page 6 of 8



       35.     Plaintiff seeks damages in the amount of his unpaid gratuities, liquidated damages

as provided by the FLSA, attorneys’ fees and costs, post-judgment interest, and such other legal

and equitable relief as this Court deems just and proper.

                              SECOND CLAIM FOR RELIEF
                   Illegal Deductions from Gratuities, N.Y. Lab. L. § 196-d


       36.     Plaintiff realleges and incorporates by reference all previous paragraphs.

       37.      Defendants retained Plaintiff’s gratuities.

       38.     Plaintiff seeks damages in the amount of his withheld gratuities, liquidated

damages, pre- and post-judgment interest, attorneys’ fees and costs, and such other legal and

equitable relief as this Court deems just and proper.

                               THIRD CLAIM FOR RELIEF
                            New York State Overtime Violations,
                        N.Y. Comp. Codes R. & Regs. tit. 12, § 146-1.4

       39.     Plaintiff realleges and incorporates by reference all previous paragraphs.

       40.     It is unlawful under New York law for an employer to suffer or permit a non-exempt

employee to work without paying overtime wages for all hours worked in excess of forty (40)

hours in any workweek.

       41.     Defendants willfully, regularly and repeatedly failed to pay Plaintiff at the required

overtime rate of one-and-one-half times his regular rate for hours worked in excess of forty (40)

hours per workweek.

       42.     As a result of Defendants’ willful and unlawful conduct, Plaintiff is entitled to an

award of damages, including liquidated damages, in amount to be determined at trial, pre- and

post-judgment interest, costs and attorneys’ fees, as provided by N.Y. Lab. Law § 663.

                            FOURTH CLAIM FOR RELIEF
                  New York Notice Requirements, N.Y. Lab. L. §§ 195, 198



                                                 6
            Case 1:19-cv-10996-JGK Document 1 Filed 11/27/19 Page 7 of 8



       43.     Plaintiff realleges and incorporates by reference all previous paragraphs.

       44.     Defendants did not provide Plaintiff with the correct notices and/or statements

required by N.Y. Lab. Law § 195.

       45.     As a result of Defendants’ unlawful conduct, Plaintiff is entitled to an award of

damages in amount to be determined at trial, pre- and post-judgment interest, and costs and

attorneys’ fees.

                               FIFTH CLAIM FOR RELIEF
                           New York Spread of Hours Provisions,
                        N.Y. Comp. Code R. & Regs. tit. 12, § 146-1.6

       46.     Plaintiff realleges and incorporates by reference all previous paragraphs.

       47.     Plaintiff had workdays that lasted more than ten (10) hours.

       48.     Defendants willfully and intentionally failed to compensate Plaintiff one hour’s pay

at the basic New York minimum hourly wage rate when his workdays lasted more than ten (10)

hours, as required by New York law.

       49.     As a result of Defendants’ willful and unlawful conduct, Plaintiff is entitled to an

award of damages, including liquidated damages, in an amount to be determined at trial, pre- and

post-judgment interest, and costs and attorneys’ fees.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for relief as follows:

       A.      An award of damages, according to proof, including liquidated damages, to be paid

               by Defendants;

       B.      Penalties available under applicable laws;

       C.      An award of damages, according to proof, including, back pay, front pay,

               compensatory damages, emotional distress damages, and punitive damages, to be

               paid by Defendants;


                                                7
          Case 1:19-cv-10996-JGK Document 1 Filed 11/27/19 Page 8 of 8



     D.      Costs of action incurred herein, including expert fees;

     E.      Attorneys’ fees, including fees pursuant to 29 U.S.C. § 216, N.Y. Lab. L. §§ 198,

             663 and other applicable statutes;

     F.      Pre-judgment and post-judgment interest, as provided by law; and

     G.      Such other and further legal and equitable relief as this Court deems necessary, just

             and proper.



Dated: New York, New York                  Respectfully submitted,
       November 27, 2019
                                           JOSEPH & KIRSCHENBAUM LLP

                                           By:
                                           /s/ D. Maimon Kirschenbaum
                                           D. Maimon Kirschenbaum
                                           Denise Schulman
                                           32 Broadway, Suite 601
                                           New York, NY 10004
                                           Tel: (212) 688-5640
                                           Fax: (212) 688-2548

                                           Attorneys for Plaintiff




                                               8
